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                           EXHIBIT B
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  Richard A. Simpson
  202.71 9.7314
  rsimpson@wiley. law
                                                                                  Wiley
                                                                                   Wiley Rein LLP
  Mary E. Borja                                                                    1776 K Street NW
  202.719.4252                                                                     Washington, DC 20006
  mborja@wiley.law                                                                 Tel: 202.719.7000

                                                                                  wiley. law

  September 27, 2021

  VIA ELECTRONIC MAIL

  Michael S. Levine, Esq.                           Cary D. Steklof, Esq.
  Hunton Andrews Kurth LLP                          Hunton Andrews Kurth LLP
  2200 Pennsylvania Avenue, NW                      333 SE 2nd Ave.
  Washington, DC 20037                              Miami, FL 33131



  Re:     Continental Casualty Co. v. AWP USA Inc. a/k/a Aga Inc., No. 3:19-cv-00661 (E.D. Va.)

  Dear Counsel:

  On behalf of Continental Casualty Company ("Continental"), and further to our September 2,
  2021 letter, we write to meet and confer in an effort to avoid the need to seek judicial
  intervention regarding Defendants' improper objections and inadequate responses to
  Continental's First Set of Interrogatories and Requests for Production (the "Discovery
  Requests"). We understand that Defendants contemplate a rolling production. Please advise
  us when Defendants will begin producing documents.

  With regard to the objections, notwithstanding the concerns raised in our September 2 letter,
  Defendants responses are still rife with objections that lack the specificity required under federal
  and local rules. In particular, Defendants continue to object to almost all of Continental's
  requests for documents—specifically, RFP Nos. 2, 3, 4, 6, 7, 8, 11, 12, 14, 17, 18, and 19—as
  "overly broad" and "unduly burdensome." However, "merely stating that a discovery request is
  "overbroad" or "unduly burdensome" will not suffice to state aproper objection." Deutsche Bank
  Nat? Tr. Co. v. Fegely, No. 3:16CV147, 2020 WL 201048, at *6 (E.D. Va. Jan. 13, 2020).
  Instead, "[i]n order to overcome the liberal construction afforded by the federal discovery rules, a
  party objecting on the grounds that a request is overly burdensome must submit affidavits or
  other evidence indicating with specificity the nature and extent of the burden." Id. Further, the
  mere fact that adiscovery request would require significant time and expense to search for and
  produce responsive documents is an insufficient basis to object to such discovery. See id.
  ('The mere fact that responding to adiscovery request will require the objecting party to expend
  considerable time, effort and expense consulting, reviewing and analyzing huge volumes of
  documents and information is an insufficient basis to object to a relevant discovery request.")
  (internal citation marks and quotation omitted). Yet Defendants still fail to explain why each
  specific request to which they object is too broad or why searching for and producing or logging
  the responsive discovery would subject Defendants to an undue burden.

  Similarly, Defendants object to numerous Discovery Requests—specifically, RFP Nos. 2, 4, 6,
  7, 9, 10, 11, 12, 13, 14, 15, 16, 17—on the grounds that they seek "irrelevant" documents or
  information. For purposes of the permissible scope of discovery, "[r]elevance is construed
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  broadly to include '[a]y matter that bears on, or that reasonably could lead to another matter
  that could bear on, any issue that is or may be in the case." Deutsche Bank Nat'! Tr. Co., 2020
  WL 201048, at *6 (quoting Cappetta v. GC Servs. Ltd. P'ship, 2008 WL 5377934, *7 (E.D. Va.
  2008) (citation omitted)). "A request for discovery should be considered relevant if there is any
  possibility that the information sought may be relevant to the subject matter of the action." Id.
  (internal quotation marks and citation omitted). Moreover, as the parties resisting discovery, the
  burden is on Defendants "to show specifically how, despite the broad and liberal construction
  afforded the federal discovery rules, each interrogatory [or request for production] is not
  relevant." Cappetta v. GC Servs. Ltd. P'ship, No. CIV. A. 3:08CV288, 2008 WL 5377934, at *2
  (E.D. Va. Dec. 24, 2008) (internal quotation marks and citations omitted); see also Spend!ove v.
  RapidCourt, LLC, No. 3:18-CV-856, 2019 WL 7143664, at *5 (E.D. Va. Dec. 23, 2019) ("When
  discovery sought appears relevant on its face, the party resisting the discovery has the burden
  to establish that the requested discovery does not come within the scope of relevance,        or is
                                                                                               ...




  of such marginal relevant that the potential harm occasioned by discovery would outweigh the
  ordinary presumption in favor of broad disclosure.") (internal quotation marks and citation
  omitted). Nonetheless, with rare exception, Defendants still fail to explain why the discovery
  sought is not relevant to any party's claims or defenses in this litigation.

  Defendants also continue to object to the production of certain documents—specifically, those
  requested in RFP Nos. 2, 5, 9, 10, 11, 12, 13—on the grounds that the requested discovery
  contains "confidential and/or proprietary business information that can only be disclosed
  pursuant to a mutually agreeable protective order from this Court and permission from the
  appropriate underlying court/parties." These objections ring hollow in light of the protective order
  issued by the Court in this case with the specific purpose of enabling the production of
  confidential and/or proprietary information. Continental reiterates its request for copies of any
  confidentiality agreements or protective orders that Defendants contend prevent the production
  of otherwise responsive documents notwithstanding this protective order.                Additionally,
  Continental again asks that Defendants immediately take any steps necessary to obtain the
  requisite approval from other courts or parties to produce responsive documents pursuant to the
  protective order in this case. Defendants may do so without waiving their objections to the
  production of such documents, but there is no reason to further delay discovery in this case by
  waiting for acourt order requiring production of the withheld documents to request permission to
  produce them to Continental.

  More specifically, based on Defendants' objections and responses to the Discovery Requests,
  Continental understands that Defendants are refusing to search for, identify on a privilege log,
  or produce the responsive, non-privileged documents for the following categories of documents:

                 Unredacted pleadings and unredacted briefing of any dispositive motions in the
                 Underlying Actions, to the extent not publicly available (RFP Nos. 9& 10);

         .       All pleadings, orders, and written submissions to the arbitrator(s) in the Smith
                 Action (RFP No. 11);

         .       Written discovery responses served by any party in the Underlying Actions (RFP
                 No. 12);
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         •       Expert reports served in the Underlying Actions (RFP No. 13);

         •       Mediation statements in the Underlying Actions (RFP No. 14); and

         •       Settlement communications in the Underlying Actions and documents relating to
                 any actual or potential settlement of the Underlying Actions (RFP Nos. 15 & 16).

  Continental fails to understand how any of these Discovery Requests are overly broad. To the
  contrary, they are narrowly tailored to seek specific, easily identifiable documents and only to
  the extent they are not publicly available. Defendants also do not provide any explanation for
  how searching for and producing or logging these documents would cause an undue burden.
  As far as Continental can tell, the only potential burden is that Defendants must seek permission
  to produce these documents pursuant to the protective order. Yet Defendants do not provide
  any explanation of the steps they have taken to attempt to secure that permission or why it has
  proved unduly burdensome. Indeed, in several instances Defendants explicitly state that they
  will not even request permission to produce those documents.

  Nor is there any basis to conclude that these specific documents from the Underlying Actions for
  which Defendants seek coverage from Continental are not relevant. Indeed, it is difficult to
  conceive of discovery that is more relevant to this coverage action than unredacted pleadings in
  the Underlying Actions and communications regarding settlements for which Defendants seek
  coverage from Continental.

  Finally, as discussed above, to the extent any requested documents contain confidential or
  proprietary information, the protective order in this case should allow production of such
  material. To the extent that Defendants believe any other privilege or protection protects the
  requested discovery from production, they must specifically identify the documents withheld and
  the basis for doing so on aprivilege log.

  To the extent that Defendants fail to promptly produce or identify on a privilege log the
  requested materials so that any asserted privilege can be evaluated, Continental will be forced
  to pursue a court order requiring it to do so. Please do not hesitate to contact us if it would be
  useful to discuss further. We are available today before 2 PM ET or after 4 PM.

  Very truly yours,

  WILEY REIN LLP




  Richard A. Simpson
  Mary E. Borja
